       Case 2:23-cr-00058-RAJ Document 53 Filed 09/15/23 Page 1 of 1




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 5
                             UNITED STATES DISTRICT COURT
 6                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 7
                                                       No. CR23-58-RAJ
       UNITED STATES OF AMERICA,
 8
                                        Plaintiff,
 9                                                     ORDER GRANTING MOTION TO
       v.                                              FILE OVERLENGTH RESPONSE
10                                                     BRIEF
       BRANDON DENZEL WASHINGTON,
11
                                        Defendant.
12

13
            The Court, having reviewed the defendant’s motion to file overlength response
14
     brief, and finding good cause, enters the following order:
15
            IT IS HEREBY ORDERED that the motion (Dkt. 51) is GRANTED.
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18          DATED this 15th day of September, 2023.

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21                                                   A
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                                                     HONORABLE RICHARD A. JONES
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